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                                   STATEMENT OF FACTS

        Your affiant, Daniel Dales is a Special Agent (“SA”) with the Federal Bureau of
Investigation (“FBI”) and have been so employed since July 2017. I am currently assigned to the
Los Angeles Field Office’s Long Beach Resident Agency Joint Terrorism Task Force (“JTTF”).
My duties at the JTTF include investigating violations of the laws of the United States, specifically
investigations related to domestic and foreign terrorism. As a Special Agent I am authorized by
law or by a Government agency to engage in or supervise the prevention, detention, investigation,
or prosecution of a violation of Federal criminal laws. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 27, 2021, the FBI received an anonymous tip (“WITNESS 1”) in
reference to Philip Kramer. Witness 1 stated that Kramer worked with their spouse at the
Jankovich Company in Paramount, California. Witness 1 received third party information that
Kramer allegedly participated in the United States Capitol Riot on January 6, 2021. Upon
returning to California, Kramer was reported to be agitated and claimed there was going to be war
on January 20, 2021, the date of the Presidential Inauguration for Joseph Biden. According to
Wintess 1, Kramer told coworkers he had purchased a 2x4 to break into the United States Capitol
and that he indeed entered the Capitol on January 6, 2021. There was no contact information
provided for follow up with WITNESS 1.

        On or about February 12, 2021, your affiant conducted an open source search for Phil
Kramer and the Jankovich Company. A LinkedIn profile was located at
https://www.linkedin.com/in/phil-kramer-85a403a1. The profile displayed a picture of an adult
white male on a bicycle with the profile name “Phil Kramer” of Yorba Linda, California. The
profile listed “Transport Engineer” for “The Jankovich Company” in the experience section. A
query of California Department of Motor Vehicle (DMV) records identified Philip Kramer,
California Driver’s License number N7028519, of 3685 San Antonio Road, Yorba Linda,
California 92886. The California DMV photograph for Kramer matched the photograph
displayed on the LinkedIn profile.
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        On March 18, 2021, your affiant contacted Kramer by telephone at 714-458-0226. During
the call, Kramer stated that he was present at the United States Capitol on January 6, 2021. He
agreed to meet with FBI agents in person for a voluntary interview. On March 19, 2021, your
affiant interviewed Kramer at Starbucks, 8819 Alondra Boulevard, Paramount, California 90723.
The interview was conducted outside at a table where Kramer had free and easy access to leave if
he desired. The interview was surreptitiously audio recorded. Kramer stated that he traveled to
Washington, D.C. to attend former President Trump’s speech on January 6, 2021. He then walked
to the United States Capitol and observed a crowd interacting with United States Capitol Police on
the west side of the building. Kramer walked up to a door of the building where he had his cellular
telephone above his head filming the crowd. Kramer stated that he was pushed into the door by a
crowd and made it approximately 20 feet into the building. At some point Kramer was exposed
to pepper spray or tear gas. Kramer also stated that he carried a snowboard helmet in his backpack
and a walking cane which he intended to use to defend himself if he was involved in an altercation.

        On March 19, 2021, Kramer contacted your affiant from telephone number 714-458-0226.
This telephone call was audio recorded. Kramer stated that he took a video of the crowd while he
was going into the Capitol, which he sent to his wife. Kramer added that he carried a Master Lock
in his backpack with a climbing rope which he intended to use “in case someone was coming at
my throat or something.” Finally, he stated that he took a “do not enter” sign from the Capitol,
brought it to California, but threw it away soon after he returned. Kramer stated that he knew he
should not have taken the sign as a souvenir and only threw it away because he was scared after
he heard things got “crazy.”

        On March 20, 2021, your affiant received the following text message on my government
issued cellular telephone from 714-458-0226, which had previously been used by Kramer:
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        On March 26, 2021, your affiant conducted another interview of Kramer at The Hangar,
4150 McGowen Street, Long Beach, California. The interview was conducted outside at a table
where Kramer had free and easy access to leave if he desired. The interview was surreptitiously
audio recorded. FBI Special Agent Jennifer Hirsch provided Kramer an open source satellite
image of the United States Capitol. Your affiant observed Kramer use a silver marker to draw
on that map the route which he traveled by foot around and ultimately into the Capitol building.
He initially drew his route through the reflecting pool but then indicated that was a mistake and
he actually walked around the pool, not through it. He stated that he entered the Capitol on the
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north side of the building. He marked the map with an “X” where he initially approached the
building and observed a group pushing on fencing in front of police officers. Kramer marked the
map with an “S” where he said he observed an individual cutting United States Capitol do not
enter signs from a fence that was pushed over. Kramer stated that it was one of these signs that
he brought home to California. Kramer added that he purchased a carpet knife, Master Lock,
and a pair of gloves at a Home Depot in Virginia and medical supplies that he had purchased at a
Rite Aid in Virginia. He took all of these items with him to the Capitol, with the exception of the
carpet knife. The following is a photocopy of the original map that Special Agent Hirsch
provided to Kramer that shows the markings that Kramer made on the map. [Your affiant has
encircled the “X” and “S” to enhance viewing of the markings that Kramer made.]
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        On March 31, 2021, your affiant reviewed United States Capitol Police (USCP)
surveillance video from January 6, 2021, for the purpose of identifying Kramer based on the
information that Kramer had provided during his interviews. On a video entitled “0124 USCS 01
Brumidi Corridor,” a group of people moved into the interior of the United States Capitol at
approximately 20:10 Greenwich Mean Time (GMT), or 3:10 PM Eastern Standard Time. In that
crowd, your affiant observed Kramer enter the left side of the video at approximately 20:10:25
GMT dressed in a red “USA” hat, red jacket, gray backpack, and carrying a tall walking stick with
a flag attached. The attire was consistent with what Kramer had reported during his prior
interviews. Kramer was inside the Capitol, walked toward the front of the crowd, and raised a
cellular telephone above his head. Afterward, Capitol police officers began to pepper spray or tear
gas and push the crowd that Kramer was among toward the exit doors; Kramer was last seen in the
video at approximately 20:12:00 GMT.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Philip Kramer violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is probable cause to believe Philip Kramer violated 18 U.S.C. §
1752(b)(1)(A), which makes it a crime to (1) knowingly enter or remain in any restricted building
or grounds without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt
the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions while carrying a dangerous weapon.

        Your affiant submits there is probable cause to believe that Philip Kramer violated 40
U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is also probable cause to believe that Philip Kramer
violated 18 U.S.C. § 641, which makes it a crime for a person to embezzle, steal, purloin, or
knowingly convert to his use or the use of another, or without authority, sell, convey or dispose of
any record, voucher, money, or thing of value of the United States or of any department or agency
thereof, or any property made or being made under contract for the United States or any department
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agency thereof; or receive, conceal, or retain the same with intent to convert it to his use or gain,
knowing it to have been embezzled, stolen, purloined or converted.




                                                      _____________________
                                                      Special Agent Daniel Dales
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this ___7th__ day of April 2021.                                 2021.04.07
                                                                        15:27:46 -04'00'
                                                      ___________________________________
                                                      ZIA M. FARUQUI
                                                      U.S. MAGISTRATE JUDGE
